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                              EXHIBIT 1
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 Recovery of Titanic’s Marconi Wireless Telegraph Transmitting Apparatus
                                          Parks Stephenson


1. Introduction
      The wreck of Titanic is the last surviving witness to the disaster, with stories left to tell to
those who are willing to listen. Titanic’s Marconi wireless telegraph apparatus literally
represents the actual voice of Titanic and as such, should be recovered from the wreck as a
matter of responsible stewardship of both the Titanic wreck site and the ship’s legacy.
2. Background
        The Marconi wireless telegraph transmitting apparatus played a crucial role in the Titanic
disaster. After Titanic left the shores of Ireland on her way across the Atlantic, the wireless
transmitter served as the only link between Titanic and the outside world. Throughout most of
the voyage, ice reports from other ships told Titanic’s Captain Smith when the ship could be
expected to encounter ice. The reports from the wireless were so meaningful that Smith briefed
his officers about the approaching ice they described just 9 hours before the disaster. One
popular bit of Titanic folklore is that another ship, the SS Californian, tried to call Titanic up on
the wireless about the ice conditions and was rebuffed by a busy operator, but in fact the
Californian’s operator failed to use proper telegraph protocol, signaling instead in an informal
manner that usually preceded boredom-relieving chitchat. Even if the Californian message had
been delivered, it would not have added to the information that Captain Smith had already
received and briefed to his watch officers earlier in the day.
        The night before the collision, the Marconi transmitter inexplicitly broke down. The two
Marconi Company operators who were assigned to Titanic attempted on their own initiative to
diagnose the fault and repair it on their own, in violation of their Company’s regulations that
instructed them to leave such repair for Marconi engineers ashore. After several hours of trial
and error, they found and fixed the fault in the electrical windings of the high-power transformer.
The transmitter was restored to its full range of approximately 250 nautical miles (NM) or
greater, instead of the much-reduced 70NM range of the emergency backup. Had the operators
not taken matters into their own hands, Titanic’s Marconi transmitter might not have had the
range the following night to reach her eventual rescuer, SS Carpathia.
         But the most profound impact that Titanic’s Marconi transmitter made on the history of
the disaster came after the collision. One of Captain Smith’s first actions after learning that his
ship was doomed was to go personally to the Marconi Wireless Room and instruct the operators
to call for immediate assistance from anyone within range of her signals. The distress call was
unmistakable, as Titanic was the only ship afloat with the newly-developed rotary spark
converter, a technological advancement that gave Titanic’s spark a character unlike any other.
Other ships carried plain-spark dischargers that consisted of two stationary electrodes separated a
short distance across from one another, creating an air gap across which high-power electricity
jumped, interrupted by the operator’s transmitting key into the long and short static bursts
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(Morse code) that radiated into the atmosphere to form intelligible words to those who could
receive and understand it. The rotary disc discharger, on the other hand, spun 16 electrodes on a
flat disc between two arcing electrodes, giving the interrupted discharge a high-frequency
musical note, much as we associate with telegraphs today. So, while the other ships were
speaking in “whispers” created by the brute discharge of a high-power spark, Titanic’s
telegraphic voice floated high above the others in an unmistakable tone. And that tone was heard
first calling for help, later delivering Titanic’s last words.
        Throughout that night, the calls from Titanic’s Marconi apparatus were heard by ships far
and wide. Titanic’s own sister ship, RMS Olympic, heard the call and offered to help, even
though she was too far away to be of practical assistance. Of the ships that responded, only
Carpathia was close enough to reach Titanic within a reasonable amount of time. All that the
other ships could do was to record in their telegraph logs the wireless operator’s description of
events as they unfolded aboard the doomed liner. The last signals were recorded by SS
Virginian, who heard two ragged test signals from Titanic before the signals halted abruptly for
good. Before 2001, that was all that could be known about the last actions of Titanic’s two
wireless operators as they performed their duty right up to the end.
        In 2001, James Cameron explored the interior of the wreck’s bow section. His interior
survey formed the basis of an archaeological baseline for key surviving areas inside the wreck.
One such area was the remains of the “Silent Cabin” – the name given to the room in which the
Marconi transmitting apparatus was housed – inside the Officers’ Quarters deckhouse on Boat
Deck. The sound-proofed walls of that room evidently withstood the hydrodynamic forces that
scoured all surrounding spaces, preserving and protecting the complete spark transmitting
apparatus within. Over the years, bacteria consumed most of those walls, revealing that
apparatus in its entirety to Cameron’s ROV cameras. Amazingly intact, the transmitting
switchboards and regulators told the complete story of the operators’ final actions to keep the
signals transmitting, even as the ship’s supplied power became weaker and more unstable. The
operator’s settings on those components – frozen in time – showed that they understood that their
signal was becoming ragged and attempted to tune the set one final time before the power
completely failed, thus making sense of the test signals and abrupt signal loss recorded by
Virginian. Not only did the survey of the Silent Cabin reveal information about the apparatus
that no other source could provide, it also gave life to some of the previously-unknown last
moments of the heroic crew aboard Titanic.
3. Argument
        Previous to Cameron’s 2001 survey, little was known of what is arguably the most
famous radio in history. Each maritime wireless telegraph installation was tailored by the local
Marconi engineer to its host ship, so even the Marconi Company archives had no Titanic-specific
information in its possession. A single photograph exists of Titanic’s Marconi operators’ room,
but not one exists of the adjacent Silent Cabin. Parks Stephenson had to basically reconstruct
from period documentation a virtual model of the complete transmitting set at the component
level, and then manipulate the details and layout of Titanic’s unique installation with what could
be discerned forensically from the in situ wreck imagery. In so doing, he followed as closely as
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possible professional archaeology rules in order to preserve the information yielded by the
wreck. His initial draft 3D model, constructed from the 2001 imagery, was further refined and
validated by a second survey conducted by Cameron in 2005. This 3D model serves as the best
available archaeological baseline available of this one-of-a-kind artefact.
         Stephenson himself dove on the wreck during the 2005 expedition and took special note
of how thin the metal deckhouse roof over the Silent Cabin had become, exposed as it has been
for over a century to powerful deep-ocean currents. He re-visited the wreck as a field producer
for the History Channel during the 2010 survey expedition led by RMST and again as a dive
observer in 2019. Over the years, he has documented the deterioration of the deckhouse
overhead, under which the remains of the Marconi wireless transmitter sits. Large sections of
that overhead have collapsed since 2005, taking with it some outlying surviving elements of the
Marconi system, including a Magneta clock relay box in a nearby athwartships passageway and
the Marconigram pneumatic motor in the Elevator Machinery Room. In 2019, Stephenson noted
the first holes opening up over the Silent Cabin, in the immediate vicinity of the surviving wall
upon which are mounted the intact switchboards and regulators that provided ship’s power to the
transmitter. In the next few years, the overhead for the Silent Cabin is expected to collapse,
potentially burying forever the remains of the world’s most famous radio.
        Stephenson has checked with various wireless telegraph enthusiast clubs and museums
about the feasibility of restoring Titanic’s Marconi transmitter, should it ever be recovered. The
motor-generator set and disc discharger, all mounted on a single bedplate in the Silent Cabin, is
the heart of the system. If recovered, it is conceivable that it could be restored to operable
condition, much like Titanic’s steam whistles were after they were recovered. Provided with
electrical power and managed by new-manufactured condenser, transformer, regulators and
phase-matched antenna, Titanic’s radio – Titanic’s voice – could once again be heard, now and
forever. The world’s sole surviving 5kW Marconi marine wireless telegraph set would be saved
from being lost in the eventual deterioration of the wreck. In an archaeological sense, it has
already been documented in the best possible in situ state, a normal requirement before any
extraction can be considered. It can be argued that the historical and emotional value of this
artefact is greater than the aesthetic appearance of the deteriorating deckhouse in which it is
currently housed. The physical condition of that deckhouse is rapidly approaching the point
where it can no longer protect this artefact and will in fact help to bury it in rubble until Boat
Deck itself caves in, carrying the Marconi apparatus deeper into the remains of the wreck, where
it could lay unseen forever.
      This situation forces the question: how long should we wait for retrieval from the wreck
when historically-significant artefacts are at risk of being lost forever? Can the world’s most
famous radio be an example deserving of a change to the company’s previous recovery protocol?
4. Solution
        In our opinion, RMST should, as salvor-in-possession, plan for the surgical removal and
retrieval of the Marconi wireless telegraph motor-generator set and discharger. Such a waiver
should not establish a dangerous precedent, as long as each retrieval continues to be required to
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undergo a rigorous approval process before being granted. The artefact should be stabilized and
restored to a condition that will make it valuable for public education and outreach. In order to
maintain a solid archaeological baseline for this artefact, Parks Stephenson would make his 3D
reconstruction of the Silent Cabin available to the RMST Archaeological Team.
6. Summary
        The current generation has been privileged to have the Titanic wreck in such a condition
that much of it can still be studied in situ. Given the deterioration observed over the last 34
years, it can be confidently stated that future generations will not be as lucky, even if interest in
Titanic remains constant. Current policies regarding artefact extraction and retrieval have to date
maintained a healthy balance between that which should be left untouched and that which should
be recovered for public display and continued research. We are now, though, entering an era
when the deterioration of the main sections of the wreck has advanced to the point where
historically-significant artefacts are at risk of being lost forever. The Marconi wireless telegraph
transmitting apparatus is a good case in point…still retrievable and intact as of this writing, but
at imminent risk of being lost. This paper argues that the Marconi motor-generator set and
discharger should be recovered at the earliest opportunity so that future generations will have it
as a tangible link to Titanic, as it was in 1912.
